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           EXHIBIT G
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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

  STATE OF NEW JERSEY, et al.                       :
                                                    :
           Plaintiffs,
                                                    :
     v.                                             :
                                                    :
                                                    :   Civil Action No.: ___________
                                                                          25-cv-10139
  DONALD J. TRUMP, et al.
                                                    :
           Defendants.                              :
                                                    :
                                                    :
                                                    :



                         DECLARATION OF MICHAEL F. RICE, Ph.D.

       I, Michael F. Rice, Ph.D., hereby declare:

1. I am the Superintendent of Public Instruction within the Michigan Department of Education

   (“MDE”), a position I have held since 2019. As State Superintendent, I oversee the entire

   Michigan Department of Education, including the Division of Business, Health, and Library

   Services; the Division of Assessment, School Improvement, and Systems Support; and the

   Division of Educator Excellence, Career and Technical Education, Special Education and

   Administrative Law.

2. As State Superintendent, I have knowledge of the matters set forth below or have knowledge

   of the matters based on my review of information, information provided by other state

   agencies, and information gathered by my staff.

                               Michigan Department of Education

3. MDE’s vision is that every learner in Michigan’s public schools will have an inspiring,

   engaging, and caring learning environment that fosters creative and critical thinkers who

   believe in their ability to positively influence Michigan and the world beyond. MDE supports
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   schools, educators, and districts to ensure all of Michigan’s nearly 1.4 million public school

   students have equitable access to high quality education and achieve academic excellence.

4. Pursuant to Plyler v. Doe, 457 U.S. 202 (1982), local education agencies (LEAs) within the

   state serve all school-age children, regardless of their immigration status. An LEA is a public

   authority that provides control of and direction for kindergarten through grade 12 public

   educational institutions. Michigan intermediate school districts (ISDs) are government

   agencies organized at the county or multi-county level that assist LEAs in providing

   programs and services.

5. Within MDE, the Division of Business, Health, and Library Services administers federal and

   state Medicaid funds to ISDs. ISDs work in cooperation with LEAs to support crucial

   education initiatives and provide essential services to students including the Michigan

   Medicaid School Services Program.

6. School-based health services (SBHS) refer broadly to medical services provided to all students

   in a school setting. Michigan covers the following services provided to all students enrolled in

   Medicaid, regardless of whether the services are provided at no cost to other students, and

   allows for Medicaid reimbursement for services delivered outside of an individualized

   education program (IEP), individualized family service plan (IFSP), or non-public service plan

   (NPSP): evaluations and tests; nursing services; occupational therapy; physical therapy; speech

   therapy; personal care; physician services; psychiatrist services; psychological, counseling,

   social work and behavioral health; specialized transportation; and targeted case management.

7. All Michigan LEAs are required to provide certain SBHS free of charge to eligible students,

   regardless of their immigration or insurance status.
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8. Since 1988, Section 1903(c) of the Social Security Act has authorized the federal Medicaid

   program to reimburse LEAs for medically necessary SBHS provided to Medicaid-eligible

   students with disabilities (“special education SBHS”) pursuant to the Individuals with

   Disabilities Education Act (IDEA), 20 U.S.C. § 1400 et seq., provided the services were

   delineated in the student’s individualized education program (IEP) (or similar plan) and

   covered in the State plan for Medicaid. IDEA requires LEAs to develop an IEP for children

   found eligible for special education and related services. An IEP identifies certain special

   education and related services, and program modifications and supports, that the LEA will

   provide a child with a disability. In December 2014, the Centers for Medicare & Medicaid

   Services (CMS) issued a letter to state Medicaid directors to announce a policy shift that

   allowed states more flexibility in their school-based Medicaid programs: Schools could seek

   reimbursement for all covered services provided to all children enrolled in Medicaid,

   regardless of whether the services are provided at no cost to other students.

9. Currently, Michigan’s state plan for Medicaid provides coverage for eligible students

   receiving SBHS that are specified in a student’s IEP/IFSP/NPSP, or individual plan of care

   (POC).

10. The Medicaid reimbursement program for SBHS in Michigan is called the Michigan

   Medicaid School Services Program (SSP) and is jointly operated by MDE and the Michigan

   Department of Health and Human Services. Michigan’s SSP includes Direct Services

   Claiming (DSC), which covers eligible services for special education students, and

   Caring4Students (C4S), which covers eligible services for general education students.

11. Michigan has contracted with a vendor for administrative support in managing SSP and

   matching reimbursement claims to Medicaid-eligible students.
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12. All Michigan ISDs, the Michigan School for the Deaf, and Detroit Public Schools

   Community District participate in the SSP. Under the SSP, over the course of a school year,

   ISDs receive interim reimbursement payments for costs associated with providing SBHS to

   Medicaid-eligible students. Payment for Michigan’s SSP is a cost-based, provider-specific,

   annually reconciled, and cost-settled reimbursement methodology. CMS also requires

   Michigan SSP providers to submit procedure-specific direct medical services claims for all

   Medicaid allowable services. These claims do not generate a payment but are required by

   CMS to monitor the services provided and the eligibility of the student, and to provide an

   audit trail. Interim payments are tied to the submission of the direct medical services claims.

13. The federal reimbursement funds are split between the Michigan Department of Health and

   Human Services and the ISDs. In State Fiscal Year 2024, the federal government paid 65.3%

   of the costs submitted for interim reimbursement for SBHS. In State Fiscal Year 2024, the

   State of Michigan retained 40% of the federal reimbursement for DSC and passed on 60% to

   the relevant ISDs. The state retained 5% of the federal funds for C4S and passed on 95%.

14. At the end of the fiscal year, Michigan engages in a cost settlement process to verify that

   LEAs are accurately reimbursed for the costs of providing SBHS by comparing interim

   reimbursements with reported annual expenditures. In State Fiscal Year 2023, Michigan

   ISDs received $160,499,516 in reimbursement for SBHS delivered to eligible students.

15. To be eligible for a partially federally funded Medicaid program, a student must be a U.S.

   citizen, a “qualified non-citizen,” or “lawfully present.”

       a. Qualified non-citizens include lawful permanent residents, asylees, refugees, and

           trafficking victims, among others.
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       b. Individuals who are lawfully present include those with humanitarian statuses (such

           Temporary Protected Status and Special Immigrant Juvenile Status) as well as asylum

           applicants, among others.

       c. Children who are neither “qualified non-citizens” nor “lawfully present” are

           commonly referred to as undocumented.

16. Undocumented children are not eligible for partially federally funded Medicaid. LEAs are

   still required to provide eligible SBHS to undocumented children but cannot receive federal

   reimbursement dollars for those services.

17. In June 2024, 946,314 children in Michigan were enrolled in Medicaid. Following the

   Executive Order, which revokes birthright citizenship for children born in the United States

   after February 19, 2025 to (i) a mother who is unlawfully present or who is lawfully present

   in the United States but on a temporary basis, and (ii) a father who is neither a citizen nor a

   lawful permanent resident, eligible students with parents who meet these criteria—who

   would have otherwise qualified for federally funded Medicaid—would lose that eligibility.

   ISDs would thus not receive any SSP reimbursement funds for provision of SBHS to those

   students, which would increase the State’s net costs.

18. The Executive Order will also increase the population of affected children, some percentage

   of whom would very likely require SBHS and would be eligible for partially federally funded

   Medicaid but for their immigration status. The costs of providing those services would be

   borne by the state and ISDs without any federal Medicaid reimbursement.

Executed this 21st day of January, 2025, in Lansing, Michigan.

                                                     ____________________________________
                                                     Michael F. Rice, Ph.D.
                                                     Superintendent of Public Instruction
                                                     Michigan Department of Education
